Case 23-40709   Doc 70-12 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                    L - Tax Foreclosure Judgment Page 1 of 2




                            Exhibit L
S        Case 23-40709          Doc 70-12 Filed 01/16/24 Entered 01/16/24 13:03:39 Desc Exhibit
                                    L - Tax Foreclosure  Judgment Page
                                              DOCKET NUMBER            2 of 2
                                                                  Commonwealth  of Massachusetts
               JUDGMENT
                                                                   19 TL 000768                                Land Court
           IN TAX LIEN CASE                                                                             Department of the Trial Court
CASE NAME


    1    el l        Ill    HMI                              Town of Westborough                                                                   Plaintiff(s)
                   00008 1 15                                           v.
    Bk: 66983 Pg: a3
    Page: 1 of 1 01/21/2022 10:39 AM WI)
                                                            Westborough SPE, LLC                                                                   Defendant(s)


    After consideration by the Court, it is ADJUDGED and ORDERED that all rights of redemption are
    forever foreclosed and barred under the following instruments:


                Land Type
                                   instrument                       Book                       Page             Document                Certificate of
                                       Date                        Number                     Number             Number                 Title Number

                Recorded           12/28/2018                       59943                      371




    This Judgment must be recorded and/or registered by the Plaintiff in the appropriate Registry of
    Deeds and/or Registration District pursuant to G. L. c. 60, § 75.




                                                                                                                      A TRUE COPY
                                                                                                 Attest:              ATISET:
    By the Court: Deborah J. Patterson
                                                                                                                        ). ,..liehai..1- WeVeasof)
                                                                                                                                  RECORDER


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DATE ENTERED: 01/05/2022                                                      - RECORDER: Deborah J. Patterson
063JUDT (01-2020)                                  www.rnass. goy/courts/land:mug                      Printed. 01/05/2022 9:33:10 AM                Page 1 of 1

                                                                   ATTEST. WORC. Kathryn &Toomey, Register
